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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

                                         x
                                         :
David Tatarian, on behalf of himself and :
others similarly situated,               : Civil Action No. 2:18-cv-12545-TGB-
                                         : RSW
                    Plaintiff,           :
                                         :
       v.                                :
                                         :
 Progressive Business Funding,           :
 Inc., and Richard Brazee,               :
                                         :
                    Defendants.          :
                                         x

          PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

David Tatarian, through his counsel, hereby voluntarily dismisses the above-

captioned case without prejudice.




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DATED: March 27, 2019             Respectfully submitted,
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                                  classes




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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 27, 2019, I filed the foregoing with the Clerk

of Court using the Court’s CM/ECF system, which will provide notice to all

counsel of record.

                                      /s/ Alexander D. Kruzyk
                                      Alexander D. Kruzyk




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